      Case 2:12-cr-00182-HB Document 479 Filed 06/25/24 Page 1 of 5



                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA           :              CRIMINAL ACTION
                                   :
             v.                    :
                                   :
WHEELER ZAMICHIELI                 :              NO. 12-182


                              MEMORANDUM


Bartle, J.                                            June 25, 2024

          Defendant Wheeler Zamichieli was convicted as a felon

in possession of a firearm in violation of 18 U.S.C. §§ 922(g)

(1) and 924(c).   After a long and involved history including two

trials and several trips to the Court of Appeals, Zamichieli was

resentenced on May 3, 2023 to a time served sentence of 120

months plus three years of supervised release by Judge Eduardo

Robreno, the third district judge to whom the case had been

assigned over the years.    Zamichieli, acting pro se, has now

moved for early termination of his supervised release.          Judge

Robreno has since retired, and the action has been transferred

to the undersigned.


          Section 3583(e)(1) provides:

               (e) Modification of conditions or
          revocation. The court may, after considering
          the factors set forth in section 3553(a)(1),
          (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4),
          (a)(5), (a)(6), and (a)(7) –
      Case 2:12-cr-00182-HB Document 479 Filed 06/25/24 Page 2 of 5



                    (1) terminate a term of supervised
               release and discharge the defendant
               released at any time after the
               expiration of one year of supervised
               release, pursuant to the provisions of
               the Federal Rules of Criminal Procedure
               relating to the modification of
               probation, if it is satisfied that such
               action is warranted by the conduct of
               the defendant released and the interest
               of justice.

          The factors outlined in Section 3553(a) which the
court must consider are:

          (1) the nature and circumstances of the
          offense and the defendant’s history and
          characteristics; (2) the need to afford
          adequate deterrence to criminal conduct,
          protect the public from further crimes of
          the defendant, and provide him with needed
          educational or vocational training, medical
          care, or other correctional treatment in the
          most effective manner; (3) the kinds of
          sentence and sentencing range established
          for the defendant’s crimes; (4) pertinent
          policy statements issued by the United
          States Sentencing Commission; (5) the need
          to avoid unwarranted sentence disparities
          among defendants with similar records who
          have been found guilty of similar conduct;
          and (6) the need to provide restitution to
          any victims of the offense.

United States v. Melvin, 978 F.3d 49, 52 (3d Cir. 2020).

          A term of supervised release is almost always a

component of any sentence where imprisonment is imposed.          See 18

U.S.C. § 3583; U.S. Sentencing Guidelines § 5D.1.1.         In contrast

to imprisonment, “the primary purpose of supervised release is

to facilitate the integration of offenders back into the

community rather than to punish them.” United States v. Murray,

                                  -2-
         Case 2:12-cr-00182-HB Document 479 Filed 06/25/24 Page 3 of 5



692 F.3d 273, 280 (3d Cir. 2012)(quoting United States v.

Albertson, 645 F.3d 191, 197 (3d Cir. 2011)).           Supervised

release is designed to fulfill “rehabilitative ends, distinct

from those served by incarceration.” United States v. Johnson,

529 U.S. 53, 59 (2000).       Accordingly, when considering a

modification or termination of supervised release, the court

does not consider the sentencing factors outlined in Section

3553(a)(2)(A): “to reflect the seriousness of the offense, to

promote respect for the law, and to provide just punishment for

the offense.” See § 3583(e) (1).

            Our Court of Appeals has made clear that the district

court does not need to find “an exceptional, extraordinary, new,

or unforeseen circumstance” in order to modify or terminate a

person’s supervised release. Melvin, 978 F.3d at 53.            While the

court must consider the factors found in Section 3553(a)(1),

(a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), and

(a)(7), it need not make specific findings as to each. Id. at

52-53.


            Since he began his supervised release in May 2023,

Zamichieli states that he has been employed with the Snow White

Home Health Care at the Virginia Mennonite Retirement Center

(VMRC) where he cares for his elderly mother and other elderly




                                     -3-
      Case 2:12-cr-00182-HB Document 479 Filed 06/25/24 Page 4 of 5



residents.   He has his own apartment, pays the rent and

utilities, owns a vehicle and pays the insurance.


          He maintains ties with one of his daughters.          However,

he has difficulty doing so with a second, younger daughter since

a term of his supervised release restricts him to the Western

District of Virginia.    As a result, he maintains he cannot

travel to see her, at least without the permission of his

probation officer or the Court.      His probation officer reports

that he has never sought authorization to do so.


          Zamichieli notes he is a devoted member of the Divine

Unity Community Church and tithes.      He writes that “he has

changed profoundly, ultimately setting him on a stable path that

he is on today.”   He adds that “he has been fully integrated

into society and is a valued worker, family member and citizen.”


          The Government opposes Zamichieli’s pending motion.

It references his criminal history score of 7 which placed him

in Criminal History Category IV.      On one occasion, he pointed a

.38 caliber handgun at a Philadelphia Police Officer.


          Zamichieli’s probation officer has had “no real

issues” with him during the short time he has been under

supervision.   The probation officer notes, however, that




                                  -4-
      Case 2:12-cr-00182-HB Document 479 Filed 06/25/24 Page 5 of 5



Zamichieli has incurred several traffic violations for

significantly exceeding the speed limit.


          Zamichieli has a long criminal history and has served

only one year of his three years of supervised release.          While

the Court lauds him for turning his life around, the time that

has elapsed since his release from prison is too short for a

reliable evaluation.    After considering all the required factors

under Section 3583(e)(1), the Court finds that Zamichieli has

not established that it is in the interest of justice to grant

his motion for early termination of supervised release.




                                  -5-
